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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 12-60016-CR-WILLIAMS

   UNITED STATES OF AMERICA

   v.

   JAMES E. PRICE, III.,

                              Defendant.
                                      /

              GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S
             SECOND EMERGENCY MOTION FOR COMPASSIONATE RELEASE

            COMES NOW, the United States of America, by and through the undersigned Assistant

   United States Attorney, and hereby moves this Court to deny defendant James Price’s motion

   asking this Court to again reduce his sentence of imprisonment and order his immediate release

   under 18 U.S.C. § 3582(c)(1)(A), relying on the threat posed by the COVID-19 pandemic. The

   United States respectfully opposes the motion. This Court should deny the motion with prejudice

   because Defendant has not met his burden of establishing that a sentence reduction is warranted

   under the statute. 1

                                           FACTUAL BACKGROUND

            On June 29, 2012, the Defendant was found guilty by a jury of one count of Distribution

   of Child Pornography in violation of 18 U.S.C. 2252(a)(2)) and one count of Possession of Child

   Pornography in violation of 18 U.S.C. 2252(a)(4)(B)). Thereafter, on March 22, 2013, this

   Honorable Court committed the Defendant to the custody of the United States Bureau of Prisons

   to be imprisoned for a term of one hundred fifty-six (156) months as to count 1 and one hundred




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     Section 3582(c) provides that a court may not modify a term of imprisonment once it has been imposed except “upon
   motion of the Director of the Bureau of Prisons, or upon motion of the defendant after the defendant has fully
   exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s
   behalf or the lapse of 30 days from the receipt of such a request by the warden of the defendant’s facility, whichever
   is earlier, [the sentencing court] may reduce the term of imprisonment . . . .” § 3582(c)(1)(A).
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   twenty (120) months as to count 2 to run concurrently. Such prison terms are to be followed by

   twenty-five (25) years of supervised release.

          The Bureau of Prisons ultimately sent Price to FCI Miami to serve out his sentence.

   Thereafter, on June 19, 2020, Price, through counsel, submitted a compassionate release request

   to the FCI Miami warden and on July 13, 2020, Price filed his first emergency petition for

   compassionate release with this Court. (DE 217). Specifically, he moved for relief under 18

   U.S.C. § 3582(c)(1)(A) for a sentence reduction resulting in his immediate release from the

   custody of the Bureau of Prisons (BOP), relying on the general threat posed by the COVID-19

   pandemic, based on his “documented history of respiratory illness which has in the past required

   ICU level treatment.” However, no specifics were alleged and no medical records in support of

   such claim were submitted to the Court in conjunction with this request for relief.

          After a thorough review of the pleadings, this Honorable Court denied Defendant’s Motion

   (DE 221), stating that “Mr. Price has not established extraordinary and compelling reasons to

   warrant the relief requested. Mr. Price states that he has ‘a documented history of respiratory illness

   which has in the past required ICU level treatment.’ (DE 217). However, he has not presented

   any medical records to support this assertion… Mr. Price does not otherwise identify any health

   condition that renders him particularly vulnerable to the risks of COVID-19 but argues that the

   ongoing pandemic presents a greater threat to inmates than to the general public.” (DE 221 at 3).

   Therefore, the Court stated it was “unable to conclude that there are extraordinary and compelling

   reasons to grant compassionate release.” Id., and denied the Motion on July 31, 2020.

          Thereafter, on December 18, 2020, Defendant Price filed a second Emergency Motion for

   Compassionate Release, (DE 226), claiming once again “[t]he risk posed by the potential

   complications from the Defendant's underlying medical conditions (comorbidities), the individual

   and cumulative risk factors identified by the CDC together with the current outbreak of COVID-

   19 at FCI-MIA, constitute extraordinary and compelling reasons for his compassionate release.”

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   He further stated that “[t]he risk to Mr. Price from COVID-19 in prison is NOT speculative, it is

   immediate, real, on-going, and serious.” (DE 226 at 40). In support of his arguments, he stated

   that the “constant increase in new infections combined with inconsistent reporting and the lack of

   proper protocols, demonstrate the BOP and FCI-MIA's inability to effectively manage the spread

   of the deadly virus, or to protect inmates entrusted to their care.” Id. at 7. Thereafter, he stated he

   possessed six risk factors that placed him in the highest risk category for serious complications

   from COVID-19, specifically his age (over 50), gender (male), ethnicity (Hispanic), a pre-existing

   respiratory condition, hypertension, and prior treatment with “last line” drugs.

          Thereafter, on January 4, 2020, Price filed a supplement to his motion (DE 230) wherein

   he admitted that he had tested positive for COVID-19 on December 1, 2020, (a fact that while

   known to the defendant, was conspicuously left out of his initial filing, most likely due to the fact

   that he has since recovered and been released back into the general population). And again, the

   defendant has failed to submit to this Court any medical records supporting his claims.

                                        LEGAL FRAMEWORK

          Under 18 U.S.C. § 3582(c)(1)(A), this Court may, in certain circumstances, grant a

   defendant’s motion to reduce his or her term of imprisonment “after considering the factors set

   forth in [18 U.S.C. § 3553(a)]” if the Court finds, as relevant here, that (i) “extraordinary and

   compelling reasons warrant such a reduction” and (ii) “such a reduction is consistent with

   applicable policy statements issued by the Sentencing Commission.” § 3582(c)(1)(A)(i). As the

   movant, the defendant bears the burden to establish that he or she is eligible for a sentence

   reduction. United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016); United States v. Green, 764

   F.3d 1352, 1356 (11th Cir. 2014).

          The Sentencing Commission has issued a policy statement addressing reduction of

   sentences under § 3582(c)(1)(A). As relevant here, the policy statement provides that a court may

   reduce the term of imprisonment after considering the § 3553(a) factors if the Court finds that

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   (i) “extraordinary and compelling reasons warrant the reduction;” (ii) “the defendant is not a

   danger to the safety of any other person or to the community, as provided in 18 U.S.C. § 3142(g);”

   and (iii) “the reduction is consistent with this policy statement.” USSG § 1B1.13.2. The policy

   statement includes an application note that specifies the types of medical conditions that qualify

   as “extraordinary and compelling reasons.”                 First, that standard is met if the defendant is

   “suffering from a terminal illness,” such as “metastatic solid-tumor cancer, amyotrophic lateral

   sclerosis (ALS), end-stage organ disease, [or] advanced dementia.” USSG § 1B1.13, cmt.

   n.1(A)(i). Second, the standard is met if the defendant is:

            •   suffering from a serious physical or medical condition,
            •   suffering from a serious functional or cognitive impairment, or
            •   experiencing deteriorating physical or mental health because of the aging
                process,

                that substantially diminishes the ability of the defendant to provide self-care
                within the environment of a correctional facility and from which he or she is
                not expected to recover.
   USSG § 1B1.13, cmt. n.1(A)(ii). The application note also sets out other conditions and

   characteristics that qualify as “extraordinary and compelling reasons” related to the defendant’s

   age and family circumstances. USSG § 1B1.13, cmt. n.1(B)-(C). Finally, the note recognizes the

   possibility that BOP could identify other grounds that amount to “extraordinary and compelling

   reasons.” USSG § 1B1.13, cmt. n.1(D).
                                                     ARGUMENT

            This Court should again deny Defendant’s motion for a reduction in his sentence with

   prejudice on either of two independently sufficient grounds. First, Defendant has not identified

   “extraordinary and compelling reasons” for that reduction within the meaning of § 3582(c)(1)(A)




   2
     The policy statement refers only to motions filed by the BOP Director. That is because the policy statement was last
   amended on November 1, 2018, and until the enactment of the First Step Act on December 21, 2018, defendants were
   not entitled to file motions under § 3582(c). See First Step Act of 2018, Pub. L. No. 115-391, § 603(b), 132 Stat. 5194,
   5239; cf. 18 U.S.C. § 3582(c) (2012). In light of the statutory command that any sentence reduction be “consistent
   with applicable policy statements issued by the Sentencing Commission,” § 3582(c)(1)(A)(ii), and the lack of any
   plausible reason to treat motions filed by defendants differently from motions filed by BOP, the policy statement
   applies to motions filed by defendants as well.

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   and the Sentencing Commission’s policy statement. Second, Defendant poses a significant danger

   to the public and the statutory sentencing factors do not weigh in favor of his release.

          A.      Defendant Has Not Identified “Extraordinary and Compelling Reasons” for
                  a Sentence Reduction.

          Defendant’s request for a sentence reduction should again be denied because he has not

   demonstrated “extraordinary and compelling reasons” warranting release. As explained above,

   under the relevant provision of § 3582(c), a court can grant a sentence reduction only if it

   determines that “extraordinary and compelling reasons” justify the reduction and that “such a

   reduction is consistent with applicable policy statements issued by the Sentencing Commission.”

   18 U.S.C. § 3582(c)(1)(A)(i). The Sentencing Commission’s policy statement defines

   “extraordinary and compelling reasons” to include, as relevant here, certain specified categories

   of medical conditions. USSG § 1B1.13, cmt. n.1(A).

          For that reason, to state a cognizable basis for a sentence reduction based on a medical

   condition, a defendant first must establish that his condition falls within one of the categories listed

   in the policy statement. Those categories include, as particularly relevant here, (i) any terminal

   illness, and (ii) any “serious physical or medical condition . . . that substantially diminishes the

   ability of the defendant to provide self-care within the environment of a correctional facility and

   from which he or she is not expected to recover.” USSG 1B1.13, cmt. n.1(A). If a defendant’s

   medical condition does not fall within one of the categories specified in the application note (and

   no other part of the application note applies), his or her motion must be denied.

          As stated by the Court previously, “[g]eneral concerns about possible exposure to COVID-

   19 do not meet the criteria for extraordinary and compelling reasons for a reduction in sentence

   set forth in the Sentencing Commission’s policy statement on compassionate release, U.S.S.G. §

   1B1.13.” United States v. Zywotko, No. 219CR113FTM60NPM, 2020 WL 1492900, at *2 (M.D.

   Fla. Mar. 27, 2020) (quoting United States v. Eberhart, No. 13-CR-00313-PJH-1, 2020 WL



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   1450745, at *2 (N.D. Cal. Mar. 25, 2020)). That does not mean, however, that COVID-19 is

   irrelevant to a court’s analysis of a motion under § 3582(c)(1)(A). If an inmate has a chronic

   medical condition that has been identified by the CDC as elevating the inmate’s risk of becoming

   seriously ill from COVID-19, 3 that condition may satisfy the standard of “extraordinary and

   compelling reasons.” Under these circumstances, a chronic condition (i.e., one “from which [the

   defendant] is not expected to recover”) reasonably may be found to be “serious” and to

   “substantially diminish[] the ability of the defendant to provide self-care within the environment

   of a correctional facility,” even if that condition would not have constituted an “extraordinary and

   compelling reason” absent the risk of COVID-19. USSG § 1B1.13, cmt. n.1(A)(ii)(I). (emphasis

   added).

                                         Defendant’s Medical Records

             First and foremost, the fact that Price was diagnosed with COVID-19 in December of 2020

   and recovered quickly is a testament to the adequacy of treatment at the facility, his ability to self-

   care, and the non life-threatening condition he is currently residing in. As the attached medical

   records obtained by the Government depict, at his December 21, 2020 medical evaluation to

   determine whether or not he could be released from isolation, the records indicate that “Patient

   denies any difficulty breathing, cough, stuffy or running nose, headaches, diarrhea or having recent

   or recurring fever. VS (vital signs) within normal limits.” His temperature was normal, and his

   oxygen saturation was at 98%. See Exhibit 1 (Encounter date 12/21/20). He routinely visits the

   medical clinic, and receives constant care as appropriate.

             While it is true that the Defendant suffers from high blood pressure, doctors from both

   Larkin Hospital and FCI-Miami have prescribed medication to control his situation, which the

   defendant has been directed to self-administer. Nonetheless, while the Defendant goes to great



   3
     See Centers for Disease Control, At Risk for Severe Illness, available at https://www.cdc.gov/coronavirus/2019-
   ncov/need-extra-precautions/groups-at-higher-risk.html (last modified Apr. 2, 2020).

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   lengths to illustrate the “imminent danger” posed by his high blood pressure, and the dire

   consequences that his condition could cause if left unchecked by the BOP, his actions are not

   consistent with his claims. Most notably, on December 13, 2020, the Defendant went to the clinic

   for a blood pressure check. When staff recorded a blood pressure of 203/167, physicians ordered

   that Price be immediately transferred to the local hospital. He REFUSED. His blood pressure

   was again checked approximately thirty minutes later, and while lower, was still elevated. Again,

   the physician ordered that Price go to the local hospital, and again, he REFUSED. He was

   thereafter presented with a medical treatment refusal form that informed him he could be at

   possible risk for a stroke or other negative consequences, which he similarly refused to sign in the

   presence of two witnesses, and never went to the hospital. While the Defendant implored that he

   “should receive treatment before he suffers a heart attack or stroke, not merely after-the-fact,” (DE

   230 at 11), his actions speak louder than words.           Accordingly, the defendant bears the

   responsibility of any negative consequences from non-compliance with doctor’s orders.

          Moreover, as the District Court in the Middle District of Florida has recently stated,

   “[N]either asthma nor high blood pressure is an extraordinary condition. The C.D.C. reports that

   108 million adults in the United States (about 45% of the adult population) have high blood

   pressure or take medication for the condition.” United States v. Wilson, 2020 WL 4193624, at *

   2 (M.D. Fla. July 21, 2020). As such, the Defendant has been prescribed a medication regimen

   to control his hypertension, and is continuously monitored by BOP clinic staff.

          Moreover, Price states, without documentation, that he continues to suffer “from chest

   pain, heart palpitations, irregular/elevated heart-rate (Tachycardia), uncontrolled high blood

   pressure (Hypertension), extreme fatigue (sleeping 12-15 hours per day), memory and cognition

   problems, chronic headaches, vision problems, insulin resistance and diabetic metabolic syndrome

   (HGB greater/equal to 5.7)” (DE 230 at 9-10). Yet, his medical records depict a different story.

   For example, at his December 14, 2020 BOP clinic visit, notes indicate that “[i]nmate did not

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   report chest pain, fatigue, cough, general malaise, headache, blurry vision…Cardiovascular:

   Regular rate and rhythm.” (See Exhibit 1 at page 5 (12/14/20)). This is a consistent entry

   throughout the records and as stated in the Government’s prior response, a review of the records

   do not reflect a documented history of either current or past respiratory illness, and accordingly,

   his claims do not establish “extraordinary and compelling reasons” for a sentence reduction under

   § 3582(c)(1)(A).

          Further, even if the Court assumes that some of the Defendant’s conditions may be some

   of the conditions identified by the CDC as increasing a person’s risk for developing serious illness

   from COVID-19, the Defendant has himself dispelled that alarm by contracting and successfully

   recovering from COVID-19 while within the facility. For these reasons, Defendant has failed to

   establish that his medical conditions rise to the level of an “extraordinary and compelling reason”

   for a sentence reduction under § 3582(c). The motion should be denied.


          B.      Defendant Still Poses a Significant Danger to the Safety of the Community
                  and the § 3553(A) Factors Strongly Weigh Against His Release.


          Alternatively, Defendant’s request for a sentence reduction should be denied because he

   has failed to demonstrate that he is not a danger to the safety of the community or otherwise merits

   release under the § 3553(a) factors. Under the applicable policy statement, this Court must deny

   a sentence reduction unless it determines the defendant “is not a danger to the safety of any other

   person or to the community.” USSG § 1B1.13(2). Additionally, this Court must consider the

   § 3553(a) factors, as “applicable,” as part of its analysis. See § 3582(c)(1)(A); United States v.

   Chambliss, 948 F.3d 691, 694 (5th Cir. 2020).

          In the instant matter, Defendant would pose a danger to public safety if released and the §

   3553(a) factors strongly disfavor a sentence reduction. The Defendant stands convicted of one

   count of Distribution of Child Pornography in violation of 18 U.S.C. 2252(a)(2)) and one count of

   Possession of Child Pornography in violation of 18 U.S.C. 2252(a)(4)(B)), and was sentenced to

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   13 years in prison. There has been no evidence presented that the Movant has completed any

   treatment regimen or programs that would inform the Court whether the Defendant is no longer a

   danger. At sentencing, enhancements were added for offense conduct that included in excess of

   600 images as well as depictions of sadomasochistic and violent content, since the offense conduct

   included the seizure of approximately 216 videos and 44 photographs, including 2 involving

   bestiality. See also United States v. Pitcock, No. 15-CR-60222, 2020 WL 3129135, at *3 (S.D.

   Fla. June 12, 2020) (Defendant convicted of possession and transportation of Child Pornography

   denied compassionate release despite only having 11 months left on his 96 month sentence in part

   because no evidence submitted to the Court to indicate whether or not any treatment programs or

   regimens have been completed by the Defendant that would inform the Court as to whether or not

   defendant remained a danger).

          Moreover, when the Movant was arrested for these crimes, it was presumed that no

   condition or combination of conditions would reasonably assure the safety of the community and

   there existed a rebuttable presumption that pre-trial detention was appropriate under 18 U.S.C.

   3142(e)(3)(E). Thereafter, as the Court is aware and having seen and heard the evidence, the

   Movant was convicted at trial, and it is important to note that the Movant has to date, never

   expressed any acceptance of responsibility or remorse for his actions affecting so many minor

   victims. Accordingly, absent any evidence to the contrary, which the Movant has failed to present,

   he remains a danger to the community if released.

          Additionally, Price has approximately 2.5 years left to serve on his sentence, and early

   compassionate release at this early juncture does not act as a deterrent and it does not promote

   respect for the law. Accordingly, in light of the totality of relevant circumstances, this Court

   should deny the motion for a sentence reduction.




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                                          CONCLUSION

           As previously stated, the Movant bears the burden of establishing that compassionate

    release is warranted. Because the Movant has failed to provide any support for his claim that

    “extraordinary and compelling reasons warrant the reduction” due to a medical condition and

    remains a danger to the community, this Court should again deny Defendant’s motion for a

    sentence reduction.

                                                      Respectfully submitted,

                                                      ARIANA FAJARDO ORSHAN
                                                      UNITED STATES ATTORNEY

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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on January 6, 2021 a true and correct copy of the foregoing

    was filed with the Court using CM/ECF.

                                              /s/ Marc S. Anton
                                              MARC S. ANTON
                                              Assistant United States Attorney




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